United States District Court
Northern District of California |

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UNITED STATES DISTRICT COURT OCC ONG
NORTHERN DISTRICT OF CALIFORNIA Ng

THE ESTATE OF SAHLEEM TINDLE, CASE No, 18-cv-05755-YGR

‘Plaintiffs,

: VERDICT FORM
VS.

JOSEPH MATEU, III,
Defendant.

 

 

 

 

 
United States District Court
Northern District of California

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WE, THE JURY IN THE ABOVE-ENTITLED CASE, unanimously render the following verdicts:

Question 1: Did JOSEPH MATEU III use unreasonable force against SAHLEEM TINDLE?
Lo Yes No
If you answered “yes” to Question 1, please answer Question 2. If you answered “no,”

sign and date this form.

Question 2: Did that unreasonable force used by JOSEPH MATEU IIT cause SAHLEEM

TINDLE’s death? |
4 Yes ; -No
If you answered “yes” to Question Number 2, answer all remaining questions (Special
Interrogatories I and 2 and Damages): |
Special Interrogatory 1: Did SAHLEEM TINDLE possess the gun in the moments before
JOSEPH MATEU III fired his weapon? |
J Yes No
Special Interrogatory 2: Was SAHLEEM TINDLE attempting to surrender in the moments before
JOSEPH MATEU III fired his weapon?
J Yes No
DAMAGES
WE, THE JURY AWARD THE FOLLOWING DAMAGES:
§ 5.975 Million
OR

Nominal Damages (not to exceed one dollar) $

 

Please sign and date this verdict form, then return to the Court.

Dated: O /05/2020 | 1

FOREPERSON NUMBER

tka dat

/FOREPERSON SIGNATURE

 

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